Case 3:06-cr-00160-JBA Document 1300 Filed 01/19/21 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                        CRIMINAL NO. : 3:06-cr-001 60-JBA
V.


AZIBO AQUART                                    JANUARY 19,2021


                    MOTION TO CONTI UE CONFERENCE


      The defendant, Azibo Aquart, through counsel, hereby requests that the

telephone conference between the parties and the court, scheduled for January 19,

2021, be continued for approximately two months. ln support of this request for

continuance, the defendant, through counsel, notes that:


             1. The conference scheduled for January 19, 2021, was for the purpose
             of determining the dissemination of discovery and to attempt to reach a
             determination on when the matter would be ripe for trial.

             2. During the last week of December, AUSA Peter Markle notified the
             defense that the government was no longer seeking the death penalty as
             to Mr. Aqaurt. A conference call was held with the court shortly after that
             decision was made so that the court is aware of the government's
             decision and that at this time a conference on the trial matter is no longer
             necessary.

             3. There are issues that still need to be resolved concerning the
             sentencing of Mr. Aquart and how that sentencing is to proceed. ln
             emails between defense attorney Marc Bookman and AUSA Peter
             Markle, there were discussions and all parties agree that a two month




                                           1
Case 3:06-cr-00160-JBA Document 1300 Filed 01/19/21 Page 2 of 3




            continuance will aid us in reaching a resolution as to how this matter will
            proceed to sentencing.

            4. As noted, the government is aware that this motion is being filed and
            has no objection to this matter being continued for conference in
            approximately two months.


      Wherefore, it is respectfully requested that telephone scheduled for January 19,

2021 notgo forward and that a new telephone conference date be set in

approximately two months.



                                        THE DEFENDANT,
                                        AZIBO AQUART




                                      BY
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                                           2
Case 3:06-cr-00160-JBA Document 1300 Filed 01/19/21 Page 3 of 3




                          UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                           CRIMINAL NO.: 3:06-cr-001 60-JBA

V


AZIBO AQUART                                        JANUARY 19,2021

                             CERTIFICATION OF SERVICE

        I hereby certify that on January 19,2021, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court's electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court's CM/ECF
System.


                                           BY     fu)A
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